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EXHIBIT B

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PUEBLOC»JEMEZV,uNWEDSTATEsoFAMERmA memyl@zom TODDLORETTO

 

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW MEXICO

PUEBLO OF JEMEZ, a Federa11y

recognized Indian tribe, Case No. l:lZ-cv-SOO(RCB)(JHR)
P]aintiff,

vs.

UNITED STATES OF AMERICA,
Defendant,

and

NEW MEXICO GAS COMPANY,

Defendant-in-Intervention.

DEPOSITION OF TODD LORETTO

Tuesday, January 16, 2018
9:08 a.m.
7424 4th Street, NW
A]buquerque, New Mexico

PURSQANT TO THE FEDERAL RULES OF CIVIL
PROCEDURE th1s depos1t10n was:

TAKEN BY: PETER KRYN DYKEMA, ESQ.
FOR DEFENDANT UNITED STATES OF AMERICA

REPORTED BY: MAUREEN R. COSTELLO, CCR
New Mexico CCR No. 220
Hunnicutt, Coste11o Reporting
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PUEBLO OF JEM EZ v. UNITED STATES OF AMERICA

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January 16, 2018

TODD LORETTO

 

 

 

A. That's when they were initiated, yeah, 1949.

 

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1 Q. And you also learned from Martin Toya and Eloy 1 Q. Okay.
2 Chinana and others that the last time the Pecos Eagle 2 A. And he said there should still be a shrine set up
3 Society conducted an initiation within the Valles Caldera 3 here somewhere yet, but, you know, l don't think we went up
4 was 1949. 4 high enough; but he knew where he was because there was
5 A. Yes, sir. 5 like a little stream, a little stream that connected to
6 Q. Okay. And if l understood correctly, it's your 6 this up in here (indicating) that was closer; but when we
7 understanding that in between those periods, roughly the 7 were there, he was saying --
8 very beginning of the 1900s and 1949, there may have been 0 Q. The stream that connected into the East Fork of`
9 other activities by the Pecos Eagle Society within the 9 the Jemez River‘?
10 Valles Caldera, but you're a little fuzzier on that. 10 A. Yeah. There's like little small streams in here
11 A. Yes, sir. Yes, sir. 11 (indicating),
12 Q. l-lave l gotten the gist of that right? 12 Q. Okay. And you're indicating the eastern side of
13 A. Yes, sir, you did. 13 Cerro del Medio?
14 MR. DYKEl\/IA: Let's take a couple minutes while l 14 A. Yes, right here, come up in here (indicating).
15 wrestle with this. 15 But anyway when we were here (indicating), he was telling
16 MR. SOLIMON: Sure. 16 us, you know, because we all heard the stories of` where
17 Do you want to break? 17 they were at; so he would point in this direction
10 THE WlTNESS: Sure. l'll get some water. 18 (indicating). They were like --
19 (From 9:44 to 9:53 a.m. a recess was taken.) 19 Q. Towards the Valle Toledo?
20 Q. (BY MR. DYKEMA) Okay. We now have in front of us 20 A. Yeah, Valle Toledo, this area (indicating).
2 1 a map of` the Valles Caldera National Preserve; and you had 21 That's where they were at, probably the forefathers like my
22 indicated that your great-grandfather, Juan Luis Pecos, had 22 great-grandfather That's where they would speak about.
23 described to you his first experience in the Valles 23 lt was hard for water back then, l guess. The water was
24 Caldera, and you indicated where that was. Can you, using 24 kind of` scarce. They had to walk a long ways just to bring
25 the map, do you have a specific notion of where it was your 25 water, like l said earlier, bring water buckets. So in
Page 2 7 Page 2 9`
1 great~grandf`ather went when he first visited as a member of 1 1949 they came closer to the source of water so it wouldn’t
2 the Pecos Eagle Society? 2 be such a burden to transport water back and forth to camp.
3 A. Well, it's in here (indicating), It's in this 3 Q. Let me make sure l've understood what you've just
4 area (indicating), 4 told me. One is that Martin Toya and Eloy Chinana in
5 Q. Do you agree with me that what you're indicating 5 describing their initiation in 1949, they indicated that
6 is the noitheast comer of` the Caldera? 6 that happened north of` Cerro del Medio in the Cerros de los
7 A. Yes, the northeast corner. Yeah, this is the 7 Posos?
0 northeast corner. Yeah, this is the entrance on the map to 9 A. Yes, sir.
9 the Preserve now. Well, the thing is when Martin Toya -- 9 Q. And it's your understanding fi‘om your
10 We knew where grandpa -- my great-grandfather was speaking 10 great-grandfather, Juan Luis Pecos, that when he and Lucas
11 about was on the north side of` this area, this peak, 11 Toledo were initiated early in the 1900s, it was also in
12 (indicating). 12 that same area, general area, the Cerros de los Posos?
13 Q. On the north of Cerro del Medio. 13 A. Yes, sir.
14 A. Yes. 14 Q. ls it your understanding from those gentlemen that
15 Q. Okay. 15 that part of` what is now the Preserve, the northeast
16 A. Well, Martin Toya, he took us -- Martin took some 16 corner, was the traditional location for initiation into
17 of us, our society members in this area right here 17 the Pecos Eagle Society, or did it just happen to be used
13 (indicating). 10 on those occasions?
19 Q. ln Cerros de los Posos? 19 A. That was -- l think that was what he had
20 A. Cerros de los Posos. 20 mentioned This area right here (indicating), l would say
21 Q. Okay. 21 this whole area, this whole quadrant, this whole area, was
22 A. He took us here to show us where him and Eloy were 22 basically used for initiation.
23 initiated 23 Q. Okay. And am l describing it accurately when l
24 Q. And that was in 1949? 24 say that what you indicated with your hand is more or less
2 5 2 5

the eastern third of the entire Valles Caldera?

 

 

8 (Pages 26 to 29)

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